 4:07-cr-03079-RGK-DLP   Doc # 36   Filed: 09/26/07   Page 1 of 1 - Page ID # 57

                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,             )
                                      )
     Plaintiff,                       )    4:07CR3079
                                      )
     v.                               )
                                      )
JOSE ROMO-CORRALES,                   )      ORDER
                                      )
     Defendant.                       )

     IT IS ORDERED:

     1. The motion of the defendant for a hearing pursuant to 18
U.S.C. § 4241, filing 29, is granted and a psychological evaluation
shall be conducted and a determination made of the defendant’s
competency to stand trial.

     2. The defendant is remanded to the custody of the Attorney
General of the United States for a competency examination at the
Federal Medical Facility, Springfield, Missouri, or other suitable
facility, pursuant to the provisions of 18 U.S.C. §§ 4241 and 4247.
Said institution or facility shall submit to the undersigned and
all counsel of record a report of the evaluation within sixty (60)
days of the defendant’s arrival at such facility.

     3. Upon the receipt of a copy of the report required by the
above paragraph, counsel shall confer with my chambers to schedule
a hearing as to the defendant’s competency to stand trial.

     4. The United States Marshal shall forthwith, without delay,
transport the defendant to the Springfield, Missouri facility, or
other suitable facility as identified by the Attorney General of
the United States, in accordance with this order, at no cost to the
defendant.

     5. Further proceedings in this matter, including pretrial
motion deadlines and trial, are hereby continued as to all
defendants until further order of the court, pending resolution of
the matter of defendant’s competency.

     Dated September 26, 2007.

                                    BY THE COURT


                                    s/David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
